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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,              §
                                                  §
                Plaintiffs,                       §
                                                  §
 V.                                               §
                                                  §
                                                                Case No. 5:21-cv-00844-XR
 GREG ABBOTT, et al.,                             §
                                                                       [Lead Case]
                                                  §
                Defendants.                       §
                                                  §
 HARRIS COUNTY REPUBLICAN PARTY, et al.,          §
                                                  §
                Intervenor-Defendants.            §


                                 JOINT MOTION TO EXTEND

       The Court recently addressed the amended scheduling order, ECF 368, vacating the May 13,

2022 close of discovery and all remaining deadlines. Minute Entry of 05/18/2022. The Court further

ordered the parties to propose a new scheduling order by June 1, 2022. Id.

       The parties met in good faith to discuss the subject on May 20 and again on May 31. Progress

has been made toward an agreed scheduling order, but there are several topics that warrant additional

conversation. The parties believe more time would be helpful in these endeavors, and therefore re-

spectfully request that their deadline to submit a scheduling order be extended to June 6, 2022.


Date: June 1, 2022                         Respectfully submitted.

KEN PAXTON                                 /s/ Patrick K. Sweeten
Attorney General of Texas                  PATRICK K. SWEETEN
                                           Deputy Attorney General for Special Litigation
BRENT WEBSTER                              Tex. State Bar No. 00798537
First Assistant Attorney General
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                                           Deputy Chief, Special Litigation Unit
                                           Tex. State Bar No. 24088531




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                                           COUNSEL FOR STATE DEFENDANTS


                                  CERTIFICATE OF CONFERENCE

       I certify that I conferred with counsel for the Plaintiffs, County Defendants, and Intervenor-

Defendants respecting this motion, and that they agreed to this motion’s filing.

                                                       /s/ Patrick K. Sweeten
                                                       PATRICK K. SWEETEN


                                     CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on June 1, 2022, and that all counsel of record were served by CM/ECF.

                                                       /s/Patrick K. Sweeten
                                                       PATRICK K. SWEETEN




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